               Case 05-07261-lmj7                    Doc 1
                                                      Filed 09/21/05 Entered 09/21/05 15:23:20 Desc Main
(Official Form 1) (12/03)                             Document Page 1 of 34
  FORM B1                         United States Bankruptcy Court
                                                                                          Voluntary Petition
                                      Southern District of Iowa

 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse)(Last, First, Middle):
  Schutte, Joel Matthew                                                                        Schutte, Marna Dale
 All Other Names used by the Debtor in the last 6 years                                       All Other Names used by the Joint Debtor in the last 6 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):
                                                                                                Marna Andrle
 Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.                       Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No. (if
 (if more than one, state all):                                                               more than one, state all):
  7348                                                                                        1970
 Street Address of Debtor (No. & Street, City, State & Zip Code):                             Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  5033 Cypress Dr                                                                              5033 Cypress Dr
  Pleasant Hill, IA 50327                                                                      Pleasant Hill, IA 50327
 County of Residence or of the                                                                County of Residence or of the
 Principal Place of Business: Polk                                                            Principal Place of Business:              Polk
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):


 Location of Principal Assets of Business Debtor
 (if different from street address above):
                                          Information Regarding the Debtor (Check the Applicable Boxes)
 Venue (Check any applicable box)
     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the
     date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                Type of Debtor (Check all boxes that apply)                                               Chapter or Section of Bankruptcy Code Under Which
     Individual(s)                                            Railroad                                            the Petition is Filed (Check one box)
     Corporation                                              Stockbroker                            Chapter 7                     Chapter 11                  Chapter 13
     Partnership                                              Commodity Broker
                                                                                                     Chapter 9                     Chapter 12
     Other                                                    Clearing Bank                          Sec. 304 - Case ancillary to foreign proceeding
                             Nature of Debts (Check one box)
                                                                                                                         Filing Fee (Check one box)
     Consumer/Non-Business                                     Business
                                                                                                     Full Filing Fee Attached
     Chapter 11 Small Business (Check all boxes that apply)                                          Filing Fee to be paid in installments (Applicable to individuals only)
                                                                                                     Must attach signed application for the court's consideration certifying
     Debtor is a small business as defined in 11 U.S.C. § 101                                        that the debtor is unable to pay fee except in installments.
     Debtor is and elects to be considered a small business under                                    Rule 1006(b). See Official Form No. 3.
     11 U.S.C. § 1121(e) (Optional)
 Statistical/Administrative Information (Estimates only)                                                                                   THIS SPACE IS FOR COURT USE ONLY
     Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
     be no funds available for distribution to unsecured creditors.

                                              1-15          16-49         50-99     100-199    200-999      1000-over
 Estimated Number of Creditors

 Estimated Assets
      $0 to     $50,001 to      $100,001 to   $500,001 to           $1,000,001 to   $10,000,001 to      $50,000,001 to    More than
     $50,000     $100,000        $500,000      $1 million            $10 million      $50 million        $100 million    $100 million



 Estimated Debts
      $0 to     $50,001 to      $100,001 to   $500,001 to           $1,000,001 to   $10,000,001 to      $50,000,001 to    More than
     $50,000     $100,000        $500,000      $1 million            $10 million      $50 million        $100 million    $100 million
               Case 05-07261-lmj7                 Doc 1         Filed 09/21/05 Entered 09/21/05 15:23:20                                      Desc Main
(Official Form 1) (12/03)                                       Document Page 2 of 34                                                                  FORM B1, Page 2
Voluntary Petition                                                                  Name of Debtor(s): Joel Matthew Schutte, Marna Dale Schutte
  (This page must be completed and filed in every case)
                            Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
 Location                                                                           Case Number:                                         Date Filed:
 Where Filed: Southern District of Iowa (Joel)                                       95-907                                                1995
             Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                    Case Number:                                         Date Filed:
  NONE

 District:                                                                          Relationship:                                        Judge:


                                                                           Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                           Exhibit A
 I declare under penalty of perjury that the information provided in this                (To be completed if debtor is required to file periodic reports
 petition is true and correct.                                                           (e.g., forms 10Kand 10Q) with the Securities and Exchange
 [If petitioner is an individual whose debts are primarily consumer debts and            Commission pursuant to Section 13 or 15(d) of the Securities
 has chosen to file under chapter 7] I am aware that I may proceed under                 Exchange Act of 1934 and is requesting relief under chapter 11)
 chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief          Exhibit A is attached and made a part of this petition.
 available under each such chapter, and choose to proceed under chapter 7.
 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                                             Exhibit B
                                                                                                        (To be completed if debtor is an individual
                                                                                                        whose debts are primarily consumer debts)
  X /s/ Joel Matthew Schutte
     Signature of Debtor                                                             I, the attorney for the petitioner named in the foregoing petition, declare that
                                                                                     I have informed the petitioner that [he or she] may proceed under chapter
                                                                                     7, 11, 12, or 13 of title 11, United States Code, and have explained the
  X /s/ Marna Dale Schutte                                                           relief available under each such chapter.
     Signature of Joint Debtor
                                                                                      X /s/Michael L. Jankins                                     9/21/2005
                                                                                         Signature of Attorney for Debtor(s)                           Date
     Telephone Number (If not represented by attorney)

     9/21/2005                                                                                                           Exhibit C
     Date                                                                                Does the debtor own or have possession of any property that poses
                                                                                         or is alleged to pose a threat of imminent and identifiable harm to
                             Signature of Attorney
                                                                                         public health or safety?
  X /s/Michael L. Jankins                                                                        Yes, and Exhibit C is attached and made a part of this petition.
     Signature of Attorney for Debtor(s)
                                                                                                 No
     Michael L. Jankins, IS9-99-9998
                                                                                                      Signature of Non-Attorney Petition Preparer
     Printed Name of Attorney for Debtor(s) / Bar No.                               I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
                                                                                    that I prepared this document for compensation, and that I have provided
      Jankins Law Firm                                                              the debtor with a copy of this document.
     Firm Name
                                                                                       Not Applicable
     2903 Ingersoll Ave Des Moines, IA 50312
                                                                                       Printed Name of Bankruptcy Petition Preparer
     Address

                                                                                       Social Security Number (Required by 11 U.S.C. § 110(c).)
     515-255-5554                                              515-255-2251
     Telephone Number                                                                  Address
     9/21/2005
     Date
                                                                                       Names and Social Security numbers of all other individuals who prepared
               Signature of Debtor (Corporation/Partnership)                           or assisted in preparing this document:
 I declare under penalty of perjury that the information provided in this
 petition is true and correct, and that I have been authorized to file this
 petition on behalf of the debtor.
 The debtor requests relief in accordance with the chapter of title 11, United
 States Code, specified in this petition.
                                                                                       If more than one person prepared this document, attach additional sheets
 X Not Applicable                                                                      conforming to the appropriate official form for each person.
     Signature of Authorized Individual
                                                                                    X Not Applicable
                                                                                       Signature of Bankruptcy Petition Preparer
     Printed Name of Authorized Individual
                                                                                       Date
     Title of Authorized Individual
                                                                                    A bankruptcy petition preparer's failure to comply with the provisions of
                                                                                    title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
     Date                                                                           or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
             Case 05-07261-lmj7             Doc 1   Filed 09/21/05 Entered 09/21/05 15:23:20                                                   Desc Main
                                                    Document Page 3 of 34
FORM B6A
(6/90)

In re:   Joel Matthew Schutte                            Marna Dale Schutte                             ,          Case No.

                        Debtor                                                                                                                  (If known)




                                     SCHEDULE A - REAL PROPERTY




                                                                               HUSBAND, WIFE, JOINT
                                                                                                                       CURRENT
                                                                                                                   MARKET VALUE




                                                                                 OR COMMUNITY
                                                                                                                    OF DEBTOR'S
               DESCRIPTION AND                                                                                       INTEREST IN                        AMOUNT OF
                                                     NATURE OF DEBTOR'S
                 LOCATION OF                                                                                     PROPERTY WITHOUT                        SECURED
                                                    INTEREST IN PROPERTY
                  PROPERTY                                                                                         DEDUCTING ANY                          CLAIM
                                                                                                                  SECURED CLAIM
                                                                                                                    OR EXEMPTION




 Lot 19 in Pleasant Hill Estates, Plat 6,     Fee Owner                               J                                     $ 135,000.00                     $ 134,829.00
 an official plat, now included in and
 forming a part of the City of Pleasant
 Hill, Polk County, Iowa;

 Location:
 5033 Cypress Dr
 Pleasant Hill, IA

 property acquired in February 2001

                                                                       Total                                                $ 135,000.00
                                                                                                      (Report also on Summary of Schedules.)
            Case 05-07261-lmj7                     Doc 1        Filed 09/21/05 Entered 09/21/05 15:23:20                                  Desc Main
                                                                Document Page 4 of 34
FORM B6B
(10/89)

In re     Joel Matthew Schutte                                    Marna Dale Schutte                ,   Case No.
                                       Debtor                                                                                              (If known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                               CURRENT




                                                                                                                     OR COMMUNITY
                                                                                                                                           MARKET VALUE OF
                                                                                                                                          DEBTOR'S INTEREST

                                                   NONE
                                                                         DESCRIPTION AND LOCATION                                         IN PROPERTY, WITH-
             TYPE OF PROPERTY                                                  OF PROPERTY                                                OUT DEDUCTING ANY
                                                                                                                                            SECURED CLAIM
                                                                                                                                             OR EXEMPTION



   1. Cash on hand                                 X

   2. Checking, savings or other financial                Wells Fargo                                                   J                                 200.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan, thrift,
      building and loan, and homestead
      associations, or credit unions, brokerage
      houses, or cooperatives.


   3. Security deposits with public utilities,     X
      telephone companies, landlords, and
      others.


   4. Household goods and furnishings,                    computer                                                      J                                 500.00
      including audio, video, and computer
      equipment.


                                                          guitar- 50.00                                               H                                    60.00
                                                          keyboard- 10.00
                                                          Household goods and furnishings                               J                                1,512.00

   5. Books, pictures and other art objects,       X
      antiques, stamp, coin, record, tape,
      compact disc, and other collections or
      collectibles.


   6. Wearing apparel.                                    wardrobe                                                    H                                   200.00

                                                          wardrobe                                                   W                                    200.00

   7. Furs and jewelry.                                   wedding ring                                               W                                   1,500.00

   8. Firearms and sports, photographic, and       X
      other hobby equipment.


   9. Interests in insurance policies. Name        X
      insurance company of each policy and
      itemize surrender or refund value of
      each.


 10. Annuities. Itemize and name each              X
     issuer.


 11. Interests in IRA, ERISA, Keogh, or other             IPERS                                                       H                                 14,468.00
     pension or profit sharing plans. Itemize.


                                                          IRA                                                        W                                   1,419.00
            Case 05-07261-lmj7                      Doc 1        Filed 09/21/05 Entered 09/21/05 15:23:20                                  Desc Main
                                                                 Document Page 5 of 34
FORM B6B
(10/89)

In re     Joel Matthew Schutte                                      Marna Dale Schutte               ,   Case No.
                                       Debtor                                                                                               (If known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                         (Continuation Sheet)




                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                CURRENT




                                                                                                                      OR COMMUNITY
                                                                                                                                            MARKET VALUE OF
                                                                                                                                           DEBTOR'S INTEREST

                                                    NONE
                                                                          DESCRIPTION AND LOCATION                                         IN PROPERTY, WITH-
            TYPE OF PROPERTY                                                    OF PROPERTY                                                OUT DEDUCTING ANY
                                                                                                                                             SECURED CLAIM
                                                                                                                                              OR EXEMPTION



 12. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.


 13. Interests in partnerships or joint                    25% interest in MMCL LLC                                   W                                  minimal
     ventures. Itemize.                                    (entity owns 40 acres of land which is subject to an
                                                           $33,257.00 mortgage)
 14. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.


 15. Accounts receivable.                           X

 16. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.


 17. Other liquidated debts owing debtor                   accrued wages                                              W                                  unknown
     including tax refunds. Give particulars.


                                                           accrued wages                                               H                                 unknown

                                                           Tax refunds                                                   J                               Unknown

 18. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule of Real Property.


 19. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.


 20. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.


 21. Patents, copyrights, and other                 X
     intellectual property. Give particulars.


 22. Licenses, franchises, and other general        X
     intangibles. Give particulars.


 23. Automobiles, trucks, trailers, and other              1992 Dodge Caravan                                            J                               1,500.00
     vehicles and accessories.
            Case 05-07261-lmj7                  Doc 1       Filed 09/21/05 Entered 09/21/05 15:23:20                                     Desc Main
                                                            Document Page 6 of 34
FORM B6B
(10/89)

In re     Joel Matthew Schutte                                  Marna Dale Schutte              ,   Case No.
                                     Debtor                                                                                               (If known)



                                       SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)




                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                              CURRENT




                                                                                                                    OR COMMUNITY
                                                                                                                                          MARKET VALUE OF
                                                                                                                                         DEBTOR'S INTEREST

                                                NONE
                                                                     DESCRIPTION AND LOCATION                                            IN PROPERTY, WITH-
            TYPE OF PROPERTY                                               OF PROPERTY                                                   OUT DEDUCTING ANY
                                                                                                                                           SECURED CLAIM
                                                                                                                                            OR EXEMPTION



 23. Automobiles, trucks, trailers, and other          1999 Chrysler Town & Country                                    J                               4,400.00
     vehicles and accessories.


 24. Boats, motors, and accessories.            X

 25. Aircraft and accessories.                  X

 26. Office equipment, furnishings, and         X
     supplies.


 27. Machinery, fixtures, equipment and         X
     supplies used in business.


 28. Inventory.                                        Mary Kay cosmetics                                           W                                  4,684.00
                                                       see attached Exhibit A
                                                       (retail cost)
 29. Animals.                                   X

 30. Crops - growing or harvested. Give         X
     particulars.


 31. Farming equipment and implements.          X

 32. Farm supplies, chemicals, and feed.        X

 33. Other personal property of any kind not    X
     already listed. Itemize.



                                                       2   continuation sheets attached                   Total                                    $ 30,643.00

                                                                                                               (Include amounts from any continuation sheets
                                                                                                               attached. Report total also on Summary of
                                                                                                               Schedules.)
Case 05-07261-lmj7   Doc 1   Filed 09/21/05 Entered 09/21/05 15:23:20   Desc Main
                             Document Page 7 of 34
Case 05-07261-lmj7   Doc 1   Filed 09/21/05 Entered 09/21/05 15:23:20   Desc Main
                             Document Page 8 of 34
Case 05-07261-lmj7   Doc 1   Filed 09/21/05 Entered 09/21/05 15:23:20   Desc Main
                             Document Page 9 of 34
            Case 05-07261-lmj7               Doc 1       Filed 09/21/05 Entered 09/21/05 15:23:20                                 Desc Main
                                                         Document Page 10 of 34
FORM B6C
(6/90)

In re    Joel Matthew Schutte                               Marna Dale Schutte                            , Case No.
                                      Debtor.                                                                                      (If known)



                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemption to which debtor is entitled under:


(Check one box)

   11 U.S.C. § 522(b)(1)        Exemptions provided in 11 U.S.C. § 522(d).        Note: These exemptions are available only in certain states.

    11 U.S.C. § 522(b)(2)       Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                                been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period
                                than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is
                                exempt from process under applicable nonbankruptcy law.



                                                                                                 VALUE OF                      CURRENT MARKET
                                                          SPECIFY LAW
                                                                                                 CLAIMED                      VALUE OF PROPERTY,
         DESCRIPTION OF PROPERTY                         PROVIDING EACH
                                                           EXEMPTION                            EXEMPTION                     WITHOUT DEDUCTING
                                                                                                                                  EXEMPTIONS

1992 Dodge Caravan                         CI § 627.6(9)                                                1,500.00                                  1,500.00
1999 Chrysler Town & Country               CI § 627.6(9)                                                4,400.00                                  4,400.00
accrued wages                              CI § 642.21, CI § 537.5105                                   3,000.00                                 unknown
accrued wages                              CI § 642.21, CI § 537.5105                                   3,000.00                                 unknown
computer                                   CI § 627.6(5)                                                  500.00                                   500.00
guitar- 50.00                              CI § 627.6(9)                                                   60.00                                    60.00
keyboard- 10.00
Household goods and                        CI § 627.6(5)                                                1,512.00                                  1,512.00
furnishings
IPERS                                      CI § 97B.39                                                14,468.00                                  14,468.00
IRA                                        CI § 627.6(8)(e)                                             1,419.00                                  1,419.00
Lot 19 in Pleasant Hill Estates,           CI §§ 499A.18, 561.1, .2, .3, .16,                        135,000.00                                 135,000.00
Plat 6, an official plat, now              .19, .20, .21
included in and forming a part
of the City of Pleasant Hill,
Polk County, Iowa;

Location:
5033 Cypress Dr
Pleasant Hill, IA

property acquired in February
2001
Tax refunds                                CI § 627.6(9)                                                2,000.00                                 Unknown
wardrobe                                   CI § 627.6(1)                                                  200.00                                   200.00
wardrobe                                   CI § 627.6(1)                                                  200.00                                   200.00
wedding ring                               CI § 627.6(1)                                                1,500.00                                  1,500.00
Wells Fargo                                CI § 627.6(13)                                                 200.00                                   200.00
               Case 05-07261-lmj7                     Doc 1                 Filed 09/21/05 Entered 09/21/05 15:23:20                                                                            Desc Main
                                                                            Document Page 11 of 34
FORM B6D
(12/03)

In re:   Joel Matthew Schutte                                                Marna Dale Schutte                                      ,                                  Case No.
                                            Debtor                                                                                                                                                   (If known)


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                                                                                             AMOUNT




                                                                            HUSBAND, WIFE, JOINT
                                                                                                     DATE CLAIM WAS INCURRED,
                                                                                                                                                                                             OF CLAIM




                                                                                                                                                                  UNLIQUIDATED
                                                                              OR COMMUNITY
                        CREDITOR'S NAME,                                                                NATURE OF LIEN, AND




                                                                                                                                                   CONTINGENT
                                                                                                                                                                                                              UNSECURED




                                                                 CODEBTOR




                                                                                                                                                                                 DISPUTED
                        MAILING ADDRESS                                                               DESCRIPTION AND MARKET                                                                 WITHOUT
                                                                                                                                                                                                               PORTION,
                      INCLUDING ZIP CODE,                                                               VALUE OF PROPERTY                                                                   DEDUCTING
                                                                                                                                                                                                                IF ANY
                     AND ACCOUNT NUMBER                                                                   SUBJECT TO LIEN                                                                    VALUE OF
                      (See instructions, above.)                                                                                                                                            COLLATERAL


ACCOUNT NO.
             650 1279785 1998                                                 J 10/03                                                                                                           8,557.00            0.00
Wells Fargo Bank                                                                                   Second Lien on Residence
                                                                                                   Lot 19 in Pleasant Hill Estates, Plat
PO Box 4233
                                                                                                   6, an official plat, now included in
Portland, OR 97208                                                                                 and forming a part of the City of
                                                                                                   Pleasant Hill, Polk County, Iowa;

                                                                                                   Location:
                                                                                                   5033 Cypress Dr
                                                                                                   Pleasant Hill, IA

                                                                                                   property acquired in February 2001
                                                                                                   __________________________
                                                                                                   VALUE $135,000.00
ACCOUNT NO.
             0031154891                                                       J 9/03                                                                                                          126,272.00            0.00
Wells Fargo Home Mortgage                                                                          Mortgage
                                                                                                   Lot 19 in Pleasant Hill Estates, Plat
PO Box 14547
                                                                                                   6, an official plat, now included in
Des Moines, IA 50306                                                                               and forming a part of the City of
                                                                                                   Pleasant Hill, Polk County, Iowa;

                                                                                                   Location:
                                                                                                   5033 Cypress Dr
                                                                                                   Pleasant Hill, IA

                                                                                                   property acquired in February 2001
                                                                                                   __________________________
                                                                                                   VALUE $135,000.00




0 Continuation sheets attached
                                                                                                                                   Subtotal                                                  $134,829.00
                                                                                                                                         (Total of this page)
                                                                                                                                         Total                                               $134,829.00
                                                                                                                                   (Use only on last page)


                                                                                                                                                                (Report total also on Summary of Schedules)
                Case 05-07261-lmj7                    Doc 1       Filed 09/21/05 Entered 09/21/05 15:23:20                                  Desc Main
                                                                  Document Page 12 of 34
Form B6E
(04/04)

In re       Joel Matthew Schutte                                           Marna Dale Schutte                           ,        Case No.
                                           Debtor                                                                                                (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


        Extensions of credit in an involuntary case

        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
        before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

        Wages, salaries, and commissions

        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions
        owing to qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding
        the filing of the original petition, or the cessation of business, whichever occurred first, to the extent provided in
        11 U.S.C. § 507(a)(3).

        Contributions to employee benefit plans

        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
        petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11
        U.S.C. § 507(a)(5).

        Deposits by individuals

        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
        family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).

        Alimony, Maintenance, or Support

        Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in
        11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units

        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11
        U.S.C. § 507(a)(8).
        Commitments to Maintain the Capital of an Insured Depository Institution

        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency,
        or Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of
        an insured depository institution. 11 U.S.C. § 507(a)(9).

        Other Priority Debts

        * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or
        after the date of adjustment.




                                                                     1 Continuation sheets attached
               Case 05-07261-lmj7                    Doc 1           Filed 09/21/05 Entered 09/21/05 15:23:20                                                                                     Desc Main
                                                                     Document Page 13 of 34
Form B6E - Cont.
(04/04)

In re      Joel Matthew Schutte                                               Marna Dale Schutte                                                 ,          Case No.
                            Debtor                                                                                                                                                                     (If known)


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS




                                                                           HUSBAND, WIFE, JOINT
                      CREDITOR'S NAME,                                                                  DATE CLAIM WAS                                                                            AMOUNT            AMOUNT




                                                                                                                                                                        UNLIQUIDATED
                                                                             OR COMMUNITY




                                                                                                                                                           CONTINGENT
                                                                CODEBTOR
                       MAILING ADDRESS                                                            INCURRED AND CONSIDERATION                                                                      OF CLAIM          ENTITLED




                                                                                                                                                                                       DISPUTED
                     INCLUDING ZIP CODE,                                                                   FOR CLAIM                                                                                                   TO
                    AND ACCOUNT NUMBER                                                                                                                                                                              PRIORITY
                        (See instructions.)



 ACCOUNT NO.




                                                                                                                                                    Subtotal
Sheet no. 1 of 1 sheets attached to Schedule of Creditors Holding Priority Claims                                                       (Total of this page)
                                                                                                                                                                                                      $0.00
                                                                                                                                                     Total
                                                                                                       (Use only on last page of the completed Schedule E.)
                                                                                                                                                                                                      $0.00
                                                                                                                                        (Report total also on Summary of Schedules)
              Case 05-07261-lmj7                       Doc 1         Filed 09/21/05 Entered 09/21/05 15:23:20                                                              Desc Main
                                                                     Document Page 14 of 34
Form B6F (12/03)


In re     Joel Matthew Schutte                                                        Marna Dale Schutte                            ,       Case No.
                                        Debtor                                                                                                                                        (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

          Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                            UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                               CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                           DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                       AMOUNT OF
               INCLUDING ZIP CODE,                                                                       IF CLAIM IS SUBJECT TO                                                           CLAIM
              AND ACCOUNT NUMBER                                                                            SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.            5398 7000 0722 3542                                 W                                                                                                                   6,141.00
AT&T Universal Card                                                                               credit card
PO Box 688906
Des Moines, IA 50368



ACCOUNT NO.            5424 1803 9229 4267                                 W                                                                                                                  19,548.00
Citi Cards                                                                                        credit card
PO Box 6000
The Lakes, NV 89163



ACCOUNT NO.            XXX-XX-XXXX                                         H                      1989 to 1996                                                                                92,431.00
Sallie Mae                                                                                        Student loan
PO Box 9500
Wilkes-Barre, PA 18773



ACCOUNT NO.            688630                                               J                     9/02                                                                                        12,864.00
Union Bank & Trust                                                                                loan
PO Box 82535
Lincoln, NE 68501



Perry Guthery Haase & Gessford PC
R J Shortridge
Attorney at Law
233 South 13th St Ste 1400
Lincoln NE 68508




                   1    Continuation sheets attached
                                                                                                                                Subtotal
                                                                                                                                                                                           $130,984.00

                                                                                                                                    Total
              Case 05-07261-lmj7                    Doc 1            Filed 09/21/05 Entered 09/21/05 15:23:20                                                                                      Desc Main
                                                                     Document Page 15 of 34
Form B6F - Cont.
(12/03)

 In re    Joel Matthew Schutte                                                        Marna Dale Schutte                                                  ,        Case No.
                                      Debtor                                                                                                                                                                  (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




                                                                                                                                                                                    UNLIQUIDATED
                 CREDITOR'S NAME,




                                                                                                                                                                       CONTINGENT
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                   DISPUTED
                 MAILING ADDRESS                                                                     AND CONSIDERATION FOR CLAIM.                                                                                 AMOUNT OF
               INCLUDING ZIP CODE,                                                                       IF CLAIM IS SUBJECT TO                                                                                     CLAIM
              AND ACCOUNT NUMBER                                                                            SETOFF, SO STATE
               (See instructions, above.)


ACCOUNT NO.        XXX-XX-XXXX                                             W                                                                                                                                              18,689.00
 US Dept. of Education                                                                            Student loan
 P.O. Box 530260
 Atlanta, GA 30353



ACCOUNT NO.        5490 8401 0169 1306                                     W                                                                                                                                                7,064.00
 Wells Fargo Card Services                                                                        credit card
 PO Box 6412
 Carol Stream, IL 60197




Sheet no. 1 of 1 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                   Subtotal
                                                                                                                                                                                                                        $25,753.00
Claims                                                                                                                                      (Total of this page)

                                                                                                                                                         Total                                                        $156,737.00
                                                                                                          (Use only on last page of the completed Schedule F.)

                                                                                                                                                                                                         (Report also on Summary of Schedules)
            Case 05-07261-lmj7                 Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20                     Desc Main
                                                          Document Page 16 of 34
Form B6G
(10/89)

In re:    Joel Matthew Schutte                                Marna Dale Schutte                        Case No.
                                                                                                   ,
                                      Debtor                                                                               (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
             NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                            DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
               OF OTHER PARTIES TO LEASE OR CONTRACT.                                NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
           Case 05-07261-lmj7                Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20        Desc Main
                                                        Document Page 17 of 34
B6H
(6/90)
In re:   Joel Matthew Schutte                               Marna Dale Schutte     ,   Case No.
                               Debtor                                                                      (If known)


                                              SCHEDULE H - CODEBTORS
           Check this box if debtor has no codebtors.



                    NAME AND ADDRESS OF CODEBTOR                                 NAME AND ADDRESS OF CREDITOR
            Case 05-07261-lmj7                  Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20                            Desc Main
                                                           Document Page 18 of 34
Form B6I
(12/03)
In re       Joel Matthew SchutteMarna Dale Schutte                                           , Case No.

                                                  Debtor                                                                       (If known)




           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
Debtor’s Marital
                                                               DEPENDENTS OF DEBTOR AND SPOUSE
Status:       married
                                               RELATIONSHIP                                                               AGE
                                         son                                                                                                3
                                         daughter                                                                                           3
                                         son (6mos)
                                         daughter                                                                                           12
Employment:                                           DEBTOR                                                   SPOUSE
Occupation                     high school counselor                                        Care taker
Name of Employer               Southeast Polk Schools                                       Little Endeavors
How long employed              7 yrs                                                        1 month
Address of Employer            8325 N.E. University                                        205 SE Oralabor Road
                               Runnells, IA                                                Ankeny IA 50021

Income: (Estimate of average monthly income)                                                              DEBTOR                   SPOUSE
Current monthly gross wages, salary, and commissions
(pro rate if not paid monthly.)                                                              $                4,089.00 $                         866.67
Estimated monthly overtime                                                                   $                     0.00 $                          0.00

SUBTOTAL                                                                                     $               4,089.00     $                  866.67
        LESS PAYROLL DEDUCTIONS
        a. Payroll taxes and social security                                                  $                 655.00 $                          74.97
                                                                                              $                 503.00 $                           0.00
        b. Insurance
        c. Union dues                                                                         $                   0.00 $                           0.00
        d. Other (Specify)       IPERS                                                        $                 151.00     $                       0.00

 SUBTOTAL OF PAYROLL DEDUCTIONS                                                              $                1,309.00 $                          74.97
TOTAL NET MONTHLY TAKE HOME PAY                                                              $                2,780.00 $                         791.70
Regular income from operation of business or profession or farm
(attach detailed statement)                                                                  $                     0.00 $                          0.00
Income from real property                                                                    $                     0.00 $                          0.00
Interest and dividends                                                                       $                     0.00 $                          0.00
Alimony, maintenance or support payments payable to the debtor for the
debtor’s use or that of dependents listed above.                                             $                     0.00 $                          0.00
Social security or other government assistance
(Specify)                                                                                    $                     0.00 $                          0.00
Pension or retirement income                                                                 $                     0.00    $                       0.00
Other monthly income
(Specify) Part time Pacifica Health Serv                                                     $                    0.00     $                     75.00
              Part time Press Citizen                                                        $                  450.00     $                      0.00
TOTAL MONTHLY INCOME                                                                          $               3,230.00 $                         866.70

TOTAL COMBINED MONTHLY INCOME                                   $ 4,096.70                (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following
the filing of this document:                           NONE
           Case 05-07261-lmj7       Doc 1       Filed 09/21/05 Entered 09/21/05 15:23:20   Desc Main
                                                Document Page 19 of 34
Form B6I
(12/03)
In re      Joel Matthew SchutteMarna Dale Schutte                      , Case No.

                                       Debtor                                              (If known)




           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
           Case 05-07261-lmj7                Doc 1       Filed 09/21/05 Entered 09/21/05 15:23:20                           Desc Main
                                                         Document Page 20 of 34
Form B6J
(6/90)

  In re    Joel Matthew SchutteMarna Dale Schutte                                                          ,     Case No.
             Debtor                                                                                                          (If known)

              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

      Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate
      schedule of expenditures labeled "Spouse".
Rent or home mortgage payment (include lot rented for mobile home)                                                      $           1,008.00
Are real estate taxes included?               Yes                       No
Is property insurance included?               Yes                       No
Utilities Electricity and heating fuel                                                                                  $             190.00
          Water and sewer                                                                                               $              70.00
           Telephone                                                                                                    $              65.00
           Other      cable                                                                                             $              45.00
                      cell phone                                                                                        $                 85.00
Home maintenance (repairs and upkeep)                                                                                   $              75.00
Food                                                                                                                    $             600.00
Clothing                                                                                                                $             200.00
Laundry and dry cleaning                                                                                                $               0.00
Medical and dental expenses                                                                                             $              50.00
Transportation (not including car payments)                                                                             $             215.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                        $              75.00
Charitable contributions                                                                                                $              65.00
Insurance (not deducted from wages or included in home mortgage payments)
              Homeowner’s or renter’s                                                                                   $                  0.00
              Life                                                                                                      $                 42.00
              Health                                                                                                    $                  0.00
              Auto                                                                                                      $                 75.00
             Other                                                                                                      $                  0.00
Taxes (not deducted from wages or included in home mortgage payments)
(Specify)                                                                                                               $                  0.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan)
              Auto                                                                                                      $               0.00
              Other 2nd Mortgage                                                                                        $             140.00
                        student loan (Joel)                                                                             $             500.00
                        student loan (Marna)                                                                            $             145.00
Alimony, maintenance or support paid to others                                                                          $                  0.00
Payments for support of additional dependents not living at your home                                                   $                  0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)                            $                  0.00
Other      diapers                                                                                                      $                 68.00
           haircuts                                                                                                     $                 25.00
           Joels lunches at school                                                                                      $                 50.00
           newspaper                                                                                                    $                 15.00
           pre school                                                                                                   $                 83.00
           school lunch tickets                                                                                         $                 48.00
           Case 05-07261-lmj7               Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20                               Desc Main
                                                       Document Page 21 of 34
Form B6J
(6/90)

  In re    Joel Matthew SchutteMarna Dale Schutte                                                        ,     Case No.
            Debtor                                                                                                             (If known)

             SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)


TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                          $              3,934.00
[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at
some other regular interval.
A. Total projected monthly income                                                                                     $
B. Total projected monthly expenses                                                                                   $
C. Excess income (A minus B)                                                                                          $
D. Total amount to be paid into plan each                                                                             $
                                                                              (interval)
                  Case 05-07261-lmj7                  Doc 1     Filed 09/21/05 Entered 09/21/05 15:23:20                              Desc Main
                                                                Document Page 22 of 34

Form B6
(6/90)


                                                        United States Bankruptcy Court
                                                            Southern District of Iowa
In re     Joel Matthew Schutte                             Marna Dale Schutte                         Case No.

                                                                                                      Chapter       7


                                                      SUMMARY OF SCHEDULES
                                                                                                          AMOUNTS SCHEDULED

                                           ATTACHED
           NAME OF SCHEDULE                               NO. OF SHEETS             ASSETS                       LIABILITIES                OTHER
                                            (YES/NO)


                                             YES                            $
  A - Real Property                                                    1                135,000.00

  B - Personal Property                      YES                            $
                                                                       3                  30,643.00

  C - Property Claimed
      as Exempt                              YES                       1

  D - Creditors Holding
                                             YES                       1                              $              134,829.00
      Secured Claims

  E - Creditors Holding Unsecured
      Priority Claims
                                             YES                       2                              $                        0.00

  F - Creditors Holding Unsecured
                                             YES                       2                              $              156,737.00
      Nonpriority Claims

  G - Executory Contracts and
      Unexpired Leases
                                             YES                       1

  H - Codebtors                              YES                       1
  I-     Current Income of
         Individual Debtor(s)                YES                       2                                                               $          4,096.70

  J - Current Expenditures of
      Individual Debtor(s)
                                             YES                       2                                                               $          3,934.00

                          Total Number of sheets
                                                                       16
                                   in ALL Schedules

                                                        Total Assets        $          165,643.00

                                                                                Total Liabilities     $             291,566.00
             Case 05-07261-lmj7                   Doc 1        Filed 09/21/05 Entered 09/21/05 15:23:20                                         Desc Main
                                                               Document Page 23 of 34
Official Form 6 - Cont .
(12/03)

  In re: Joel Matthew Schutte                                    Marna Dale Schutte                              ,             Case No.
                                Debtor                                                                                                       (If known)


                            DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

  I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      17
                                                                                                                           (Total shown on summary page plus 1.)

sheets plus the summary page, and that they are true and correct to the best of my knowledge, information, and belief.




Date: 9/21/2005                                                                     Signature: /s/ Joel Matthew Schutte
                                                                                                 Joel Matthew Schutte


Date: 9/21/2005                                                                     Signature: /s/ Marna Dale Schutte
                                                                                                 Marna Dale Schutte


                                                                                    [If joint case, both spouses must sign]

         DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


                                                                          (NOT APPLICABLE)




Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
           Case 05-07261-lmj7             Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20                        Desc Main
                                                     Document Page 24 of 34
Form 7
(12/03)

                                                   UNITED STATES BANKRUPTCY COURT
                                                         Southern District of Iowa

In re:    Joel Matthew Schutte                         Marna Dale Schutte                         Case No.
          7348                                          1970                                      Chapter    7

                                      STATEMENT OF FINANCIAL AFFAIRS

           1. Income from employment or operation of business
None       State the gross amount of income the debtor has received from employment, trade, or profession, or from
           operation of the debtor's business from the beginning of this calendar year to the date this case was
           commenced. State also the gross amounts received during the two years immediately preceding this
           calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather
           than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
           fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
           chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
           spouses are separated and a joint petition is not filed.)
           AMOUNT                            SOURCE                                         FISCAL YEAR PERIOD


           44,205.00                         2003 wages of debtor

           10,292.00                         2003 wages of spouse

           640.00                            2003 gross daycare revenue of spouse

           1,301.00                          2003 sales from Mary Kay cosmetics
                                             (spouse)

           3,333.00                          2004 gross daycare revenue of spouse

           867.00                            2004 sales from Mary Kay cosmetics
                                             (spouse)

           2,350.00                          2004 income of spouse from Metro
                                             Greeters

           49,213.00                         2004 wages of debtor

           39,471.00                         2005 wages of debtor

           4,574.00                          2005 wages of spouse

           2. Income other than from employment or operation of business
None

           State the amount of income received by the debtor other than from employment, trade,
           profession, or operation of the debtor's business during the two years immediately preceding the
           commencement of this case. Give particulars. If a joint petition is filed, state income for each
           spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
           each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)

           AMOUNT                             SOURCE                                                                FISCAL YEAR PERIOD


           3. Payments to creditors
None
       Case 05-07261-lmj7            Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20                       Desc Main
                                                Document Page 25 of 34

       a. List all payments on loans, installment purchases of goods or services, and other debts,
       aggregating more than $600 to any creditor, made within 90 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)

                                                         DATES OF                               AMOUNT             AMOUNT
       NAME AND ADDRESS OF CREDITOR                      PAYMENTS                               PAID               STILL OWING

       Wells Fargo Home Mortgage                         $1008.00 paid each of the              3,024.00
       PO Box 14547                                      past 3 months
       Des Moines, IA 50306

       b. List all payments made within one year immediately preceding the commencement of this case
       to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12
       or chapter 13 must include payments by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)
None

       NAME AND ADDRESS OF CREDITOR                    DATES OF                                                    AMOUNT
       AND RELATIONSHIP TO DEBTOR                      PAYMENTS                               AMOUNT PAID          STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year
       immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
       chapter 13 must include information concerning either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

       CAPTION OF SUIT                                                       COURT OR AGENCY                      STATUS OR
       AND CASE NUMBER                      NATURE OF PROCEEDING             AND LOCATION                         DISPOSITION


       Union Bank and Trust Company Law petition                             IA Dis Ct for Polk County            Pending
       v                                                                     Des Moines IA
       Joel Mathew Schutte and
       Marna Dale Schutte
          99352

       b. Describe all property that has been attached, garnished or seized under any legal or equitable
       process within one year immediately preceding the commencement of this case. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None


       NAME AND ADDRESS                                                                  DESCRIPTION
       OF PERSON FOR WHOSE                                   DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                           SEIZURE                     PROPERTY


       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale,
       transferred through a deed in lieu of foreclosure or returned to the seller, within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning property of either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                           DATE OF REPOSSESSION,         DESCRIPTION
       NAME AND ADDRESS                                    FORECLOSURE SALE              AND VALUE OF
       OF CREDITOR OR SELLER                               TRANSFER OR RETURN            PROPERTY
       Case 05-07261-lmj7             Doc 1     Filed 09/21/05 Entered 09/21/05 15:23:20                         Desc Main
                                                Document Page 26 of 34
                                                            DATE OF REPOSSESSION,         DESCRIPTION
       NAME AND ADDRESS                                     FORECLOSURE SALE              AND VALUE OF
       OF CREDITOR OR SELLER                                TRANSFER OR RETURN            PROPERTY


       Union Bank & Trust                                   March 14, 2005                2004 Ford Windstar
       PO Box 82535
       Lincoln, NE 68501


       6. Assignments and receiverships
None


       a. Describe any assignment of property for the benefit of creditors made within 120 days
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                      DATE OF                      ASSIGNMENT
       OF ASSIGNEE                                           ASSIGNMENT                   OR SETTLEMENT



       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
       within one year immediately preceding the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None

                                                NAME AND ADDRESS                                          DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                 AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                   PROPERTY


       7. Gifts
None

            List all gifts or charitable contributions made within one year immediately preceding the
       commencement of this case except ordinary and usual gifts to family members aggregating less
       than $200 in value per individual family member and charitable contributions aggregating less
       than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
       or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses
       are separated and a joint petition is not filed.)

       NAME AND ADDRESS                         RELATIONSHIP                                              DESCRIPTION
       OF PERSON                                TO DEBTOR,                    DATE                        AND VALUE OF
       OR ORGANIZATION                          IF ANY                        OF GIFT                     GIFT


       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding
       the commencement of this case or since the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS

       $1730.00                                      gambling                                                     March 04- Dec 04

       9. Payments related to debt counseling or bankruptcy
None
       Case 05-07261-lmj7             Doc 1     Filed 09/21/05 Entered 09/21/05 15:23:20                         Desc Main
                                                Document Page 27 of 34
            List all payments made or property transferred by or on behalf of the debtor to any persons,
       including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
       or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.
       NAME AND ADDRESS                                       DATE OF PAYMENT,              AMOUNT OF MONEY OR
       OF PAYEE                                               NAME OF PAYOR IF              DESCRIPTION AND VALUE
                                                              OTHER THAN DEBTOR             OF PROPERTY
       Law Office of Michael Jankins                          June 8, 2005                  650.00
       2903 Ingersoll Ave
       Des Moines, IA 50312



       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or
       financial affairs of the debtor, transferred either absolutely or as security within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED

       self
                                                             12-29-04                             Oppenheimer funds
                                                                                                  $2,358.76



       11. Closed financial accounts
None

       List all financial accounts and instruments held in the name of the debtor or for the benefit of
       the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
       the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit
       unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                             TYPE OF ACCOUNT, LAST FOUR           AMOUNT AND
       NAME AND ADDRESS                                      DIGITS OF ACCOUNT NUMBER,            DATE OF SALE
       OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE          OR CLOSING


       12. Safe deposit boxes
None

       List each safe deposit or other box or depository in which the debtor has or had securities,
       cash, or other valuables within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                    DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                             OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITORY               CONTENTS                       IF ANY


       13. Setoffs
None
        Case 05-07261-lmj7             Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20                       Desc Main
                                                  Document Page 28 of 34
        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor
        within 90 days preceding the commencement of this case. (Married debtors filing under chapter 12
        or chapter 13 must include information concerning either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                        DATE OF                                        AMOUNT OF
        NAME AND ADDRESS OF CREDITOR                                    SETOFF                                         SETOFF


        14. Property held for another person
None

        List all property owned by another person that the debtor holds or controls.

        NAME AND ADDRESS                                       DESCRIPTION AND VALUE
        OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


        15. Prior address of debtor
None

        If the debtor has moved within the two years immediately preceding the commencement of this
        case, list all premises which the debtor occupied during that period and vacated prior to the
        commencement of this case. If a joint petition is filed, report also any separate address of either
        spouse.

        ADDRESS                                                         NAME USED                               DATES OF OCCUPANCY


         16. Spouses and Former Spouses
 None

         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
         California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year
         period immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former
         spouse who resides or resided with the debtor in the community property state.

         NAME



        17. Environmental Information.
        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
        hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
        including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
                formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

        a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
        that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
        date of the notice, and, if known, the Environmental Law.
None

        SITE NAME AND                              NAME AND ADDRESS                    DATE OF                  ENVIRONMENTAL
        ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                   LAW
        Case 05-07261-lmj7            Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20                          Desc Main
                                                 Document Page 29 of 34

         b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
         Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

 None


         SITE NAME AND                         NAME AND ADDRESS                    DATE OF                ENVIRONMENTAL
         ADDRESS                               OF GOVERNMENTAL UNIT                NOTICE                 LAW




         c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
         respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
         to the proceeding, and the docket number.
 None

         NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
         OF GOVERNMENTAL UNIT                                                                        DISPOSITION




        18. Nature, location and name of business
None

        a.      If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
        and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
        executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the six years
        immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
        equity securities within the six years immediately preceding the commencement of this case.


        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
        business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
        percent or more of the voting or equity securities within the six years immediately preceding the
        commencement of this case.


        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
        business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
        percent or more of the voting or equity securities within the six years immediately preceding the
        commencement of this case.

                                 TAXPAYER                                                                           BEGINNING AND ENDING
        NAME                     I.D. NUMBER            ADDRESS                          NATURE OF BUSINESS         DATES



         b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
         U.S.C. § 101.
 None

         NAME                                                                      ADDRESS




                                                                  * * * * * *
    Case 05-07261-lmj7            Doc 1      Filed 09/21/05 Entered 09/21/05 15:23:20                  Desc Main
                                             Document Page 30 of 34
[if completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement
of financial affairs and any attachments thereto and that they are true and correct.

Date 9/21/2005                                          Signature    /s/ Joel Matthew Schutte
                                                        of Debtor    Joel Matthew Schutte


Date 9/21/2005                                          Signature    /s/ Marna Dale Schutte
                                                        of Joint     Marna Dale Schutte
                                                        Debtor
            Case 05-07261-lmj7                  Doc 1     Filed 09/21/05 Entered 09/21/05 15:23:20                                    Desc Main
                                                          Document Page 31 of 34
Official Form 8
( 12/03)

                                                 UNITED STATES BANKRUPTCY COURT
                                                          Southern District of Iowa

  In re:   Joel Matthew Schutte                               Marna Dale Schutte                                      Case No.

           7348                                               1970                                                    Chapter       7

                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
      1.   I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
      2.   I intend to do the following with respect to the property of the estate which secures those consumer debts:

            a.    Property To Be Surrendered.

            Description of Property                                              Creditor's Name

                    None

            b.    Property To Be Retained.                                                 [Check any applicable statement.]


                                                                                                Property will        Debt will be
 Description                                                                      Property      be redeemed          reaffirmed
 of                                     Creditor's                                is claimed    pursuant to          pursuant to
 Property                               Name                                      as exempt     11 U.S.C. § 722      11 U.S.C. § 524(c)   Other

 1.     Lot 19 in Pleasant Hill      Wells Fargo Bank                                                                         X
        Estates, Plat 6, an official
        plat, now included in and
        forming a part of the City
        of Pleasant Hill, Polk
        County, Iowa;

        Location:
        5033 Cypress Dr
        Pleasant Hill, IA

        property acquired in
        February 2001
 2.     Lot 19 in Pleasant Hill      Wells Fargo Home Mortgage                                                                X
        Estates, Plat 6, an official
        plat, now included in and
        forming a part of the City
        of Pleasant Hill, Polk
        County, Iowa;

        Location:
        5033 Cypress Dr
        Pleasant Hill, IA

        property acquired in
        February 2001

Date:       9/21/2005                                                                          /s/ Joel Matthew Schutte
                                                                                               Signature of Debtor

Date:       9/21/2005                                                                          /s/ Marna Dale Schutte
                                                                                               Signature of Joint Debtor
             Case 05-07261-lmj7                   Doc 1       Filed 09/21/05 Entered 09/21/05 15:23:20                                  Desc Main
                                                              Document Page 32 of 34
                                                        UNITED STATES BANKRUPTCY COURT
                                                                  Southern District of Iowa
In re:          Joel Matthew Schutte                               Marna Dale Schutte                                Case No.
                                                                                                                     Chapter        7
Debtors
                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                           $               650.00
          Prior to the filing of this statement I have received                                                                 $               650.00
          Balance Due                                                                                                           $                   0.00
2. The source of compensation paid to me was:

                  Debtor                                           Other (specify)
3. The source of compensation to be paid to me is:
                  Debtor                                           Other (specify)

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
            my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
            attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
            a petition in bankruptcy;

     b)     Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)     [Other provisions as needed]
             Representation in adversary proceedings shall require the payment of a retainer which shall be negotiated prior to
             undertaking represention and services shall be billed at the rate of $185.00 per hour.
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             Representation in adversary proceedings


                                                                         CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 9/21/2005

                                                                         /s/Michael L. Jankins
                                                                         Michael L. Jankins, Bar No. IS9-99-9998

                                                                          Jankins Law Firm
                                                                          Attorney for Debtor(s)
       Case 05-07261-lmj7                     Doc 1        Filed 09/21/05 Entered 09/21/05 15:23:20                                      Desc Main
                                                           Document Page 33 of 34
 B 201 (11/03)

                                           UNITED STATES BANKRUPTCY COURT
                               NOTICE TO INDIVIDUAL CONSUMER DEBTOR
                              The purpose of this notice is to acquaint you with the four chapters of the federal
                              Bankruptcy Code under which you may file a bankruptcy petition. The bankruptcy
                              law is complicated and not easily described. Therefore, you should seek the advice
                              of an attorney to learn of your rights and responsibilities under the law should you
                              decide to file a petition with the court. Court employees are prohibited from giving
                              you legal advice.


Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)

        1.          Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

        2.       Under chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt under
governing law. The trustee then liquidates the property and uses the proceeds to pay your creditors according to priorities of the
Bankruptcy Code.
       3.        The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the
purpose for which you filed the bankruptcy petition will be defeated.

       4.         Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be
responsible for such debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or
personal injury caused by driving while intoxicated from alcohol or drugs.

       5.         Under certain circumstances you may keep property that you have purchased subject to valid security interest. Your attorney
can explain the options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($155 filing fee
plus $39 administrative fee)
         1.        Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to
pay them in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
        2.        Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them,
using your future earnings. Usually, the period allowed by the court to repay your debts is three years, but no more than five years.
Your plan must be approved by the court before it can take effect.
       3.       Under chapter 13, unlike chapter 7, you may keep all your property, both exempt and non-exempt, as long as you continue
to make payments under the plan.

        4.        After completion of payments under your plan, your debts are discharged except alimony and support payments, student
loans, certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated
from alcohol or drugs, and long term secured obligations.

Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)
      Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer ($200 filing fee plus $39 administrative fee)
        Chapter 12 designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways
similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family
- owned farm.

I, the debtor, affirm that I have read this notice.



 9/21/2005                                    /s/ Joel Matthew Schutte
             Date                                                    Signature of Debtor                                                 Case Number
 9/21/2005                                    /s/ Marna Dale Schutte
             Date                                                     Signature of Joint Debtor
         Case 05-07261-lmj7              Doc 1    Filed 09/21/05 Entered 09/21/05 15:23:20                      Desc Main
                                                  Document Page 34 of 34
                                          UNITED STATES BANKRUPTCY COURT
                                                  Southern District of Iowa

In re:    Joel Matthew Schutte                               Marna Dale Schutte                     Case No. ________________________

          7348                                                1970                                  Chapter    7

                               VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that
         the attached Master Mailing List of creditors, consisting of 1 sheet(s) is complete, correct and consistent with the
         debtor’s schedules pursuant to Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     9/21/2005                                               Signed:
                                                                                      /s/ Joel Matthew Schutte
                                                                                      ____________________________________________
                   ___________________
                                                                                      Joel Matthew Schutte


         Signed:
                    /s/Michael L. Jankins
                   ________________________________________________         Signed:   /s/ Marna Dale Schutte
                                                                                      ____________________________________________
                   Michael L. Jankins                                                 Marna Dale Schutte
                   Bar No.         IS9-99-9998
